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CGFI2 (06/27/22)
                                               United States Bankruptcy Court
                                                             Southern District of Florida
                                                               www.flsb.uscourts.gov
                                                                                                                 Case Number: 24−13938−MAM
                                                                                                                 Chapter: 11
In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
TGP Communications, LLC
aka The Gateway Pundit
1820 NE Jensen Beach Blvd
Unit 1120
Jensen Beach, FL 34957
EIN: 46−4161586


                         NOTICE OF DEADLINE(S) TO CORRECT FILING DEFICIENCY(IES)
NOTICE IS HEREBY GIVEN TO THE DEBTOR that the above referenced case, which was filed on April 24, 2024, contains
one or more filing deficiency(ies) which must be corrected. Failure to correct a deficiency on or before the deadline posted
below the listed deficiency may result in the document(s) being stricken and/or dismissal of this case without further
notice. Deficiencies in items listed below may include failure to file the document, failure to sign the document, or failure to file
the document using the correct and/or current form that substantially conforms to an Official Bankruptcy Form. Links to all
required Official Bankruptcy Forms and AO Director's national forms and to local rules, forms, instructions and guidelines are on
the court website www.flsb.uscourts.gov.

DEFICIENCY(IES) in your case: You must correct the following deficiency(ies) by the date indicated below each deficiency.

                     The petition was not accompanied by a corporate ownership statement as required by
                     Bankruptcy Rule 1007(a)(1) and Local Rule 1002−1(A)(2).
                     Deadline to correct deficiency: 5/2/24

                     Schedules of assets and liabilities. The following schedules were not filed OR were not
                     filed using the correct and/or current Official Bankruptcy Form.
                     Deadline to correct deficiency: 5/8/24

                               Official Bankruptcy Form 206A/B, Schedule A/B: Property − Non−Individual
                               Official Bankruptcy Form 206D, Schedule D: Creditors who Hold Claims Secured
                               By Property − Non−Individual
                               Official Bankruptcy Form 206E/F, Schedule E/F: Creditors Who Have Unsecured
                               Claims − Non−Individual
                               Official Bankruptcy Form 206G, Schedule G: Executory Contracts and Unexpired
                               Leases − Non−Individual
                               Official Bankruptcy Form 206H, Schedule H: Your Codebtors − Non−Individual

                     Declaration Concerning Debtor's Schedules (Official Bankruptcy Form 202, Declaration
                     Under Penalty of Perjury for Non−Individual Debtors) was not filed or was not signed. See
                     Bankruptcy Rules 1007 and 1009, and Local Rules 1007−2(B) and 1009−1(D).
                     Deadline to correct deficiency: 5/8/24


                                        Declaration not filed
                                        Declaration not signed
                                        Declaration must be filed with deficient schedules listed above

                     Names and addresses of equity security holders of the debtor not filed. See Bankruptcy
                     Rule 1007(a)(3).
                     Deadline to correct deficiency: 5/8/24


Please also be advised of the following local requirement(s):

Correcting any deficiency related to filing of petitions, schedules, statements or lists. The Local Form "Debtor's Notice of
Compliance with Requirements for Amending Creditor Information" (LF−04) and the Official Bankruptcy Form "Declaration
About an Individual Debtor's Schedules" must accompany the filing of any paper submitted subsequent to the filing of the initial
service matrix. [See Bankruptcy Rules 1007 and 1009, and Local Rules 1007−2(B) and 1009−1(D)]. If the paper you are filing to
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correct the deficiency requires you to amend your service matrix, please review the "Clerk's Instructions for Preparing,
Submitting and Obtaining Service Matrices" for additional format, fee and other requirements.
Required Chapter 11 Case Management Summary. Chapter 11 debtors (other than individuals not engaged in business) must
file Local Form "Chapter 11 Case Management Summary" on the earlier of three business days after the petition date, or one
business day before the first scheduled hearing on any motion. [See Local Rule 2081−1(B)].

Dated:4/25/24                                                    CLERK OF COURT
                                                                 By: Sara Montoya , Deputy Clerk
Copies to:   Debtor
             Attorney for Debtor
